


  Earl, J.
 

  Chapman, the engineer upon the plaintiff's engine at the time of the accident, was severely injured, and he brought an action against the defendant to recover for his injuries. His recovery was sustained in the general term and in this court. 38 Hun, 637; 108 N. Y., 638; 13 St. Rep., 900. In that action it. was finally determined in this court that there was sufficient evidence of the defendant’s negligence to uphold the.plaintiff’s recovery. Upon the trial of the action which resulted in the judgment now under review, the plaintiff called no witnesses, but b)r consent read the evidence given on behalf of the engineer in his action, and most of the defendant’s evidence was also read as it was given in that action. Thus the evidence given on the trial of this action is substantially the same as that given upon the trial of that action.
 

  Without, therefore, further examining the evidence, we may properly hold that the negligence of the defendant was sufficiently established and proceed to the main contention now made on its. behalf, that there was contributory negligence on the part of the plaintiff which forbids its recovery. It was upon this ground that the judgment entered upon the verdict was reversed by the general term.
 

  This car load of lumber was transported by the plaintiff and placed upon the side track for the defendant, and there it received the delivery of the lumber. At the time of its delivery it was in a safe condition on the car, properly loaded and fastened. If tlie defendant had removed all the lumber from the car on that day, as it undoubtedly could, no accident would have happened. And if, as the jury must have found, after removing a part of the lumber, it had left what remained on the car properly loaded and properly fastened, no accident would have happened. But because of negligence attributable to it, and solely because of that, the lumber in some way and from some cause-fell from the car upon the main track and thus caused the accident. The plaintiff owed no duty to the defendant to unload the-car or to superintend the unloading of the car, or to watch and take care of the car during the night of the accident. It had no-watchman at that place and owed no duty to the defendant to keep one there. It was not bound, as between it and the defendant, to anticipate any danger from the lumber upon that car after it had been delivered to the defendant. It had the right to assume that the defendant would discharge its duty, and that it would not negligently place the lumber upon the plaintiff's track
   
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  or permit it to be placed or come there. Therefore, it had the right to run its train on the assumption that the track at that point was clear and safe; and the defendant, through whose negligence the accident was caused, has no right whatever to charge the plaintiff with negligence. We have not here an inquiry about the duty which the plaintiff, as a carrier of passengers, owes to its passengers or to the employees upon its trains. As to them it is under the duty of active vigilance to guard them from danger. But as to a stranger with whom it has no relations, and to whom it owes no duty, it is not bound to active vigilance to guard him from damage, or in any way to avoid the consequences of his negligence. If the plaintiff had been aware of the defendant’s negligence, or had known that the lumber was upon the track, or that it was likely to be there, or its engineer had seen it in time to avoid the accident, then the duty would have devolved upon it to guard against the danger by active vigilance on its part. But having no knowledge or notice of the danger, it owed no duty whatever to act upon the assumption that the danger might exist, and thus to take affirmative measures to protect itself against any wrong which the defendant might inflict upon it. Any citizen, in the prosecution of his own business, may everywhere act upon the assumption that no other citizen will by misfeasance cause him an injury, unless there is something in the circumstances of the case which casts upon him the duty of active vigilance for his own safety. The trial judge, therefore, did not err in holding that there was no evidence in this case of contributory negligence on the part of the plaintiff which shielded this defendant from liability for the consequences of the accident. The plaintiff was not bound to keep a watchman at this side track; hence the trial judge committed no error in refusing to admit the defendant’s proof that no watchman was kept there.
 

  Neither did the trial judge err in' refusing to allow the defendant to prove that the car which the plaintiff furnished to it for transporting the lumber was not a lumber car, boarded up part of the way around the sides, but a flat car. The lumber was transferred in safety to this side track, and when delivered was safely fastened on the car, and it fell from the car, not from any imperfection in the car, but from the careless manner in which the lumber was left upon the car after a portion of it had been removed by the defendant.
 

  The following requests to charge made on the part of the defendant were properly refused: “ If you find that the accident occurred through the negligent omission to foresee that the lumber was not left in a condition to withstand a storm, then the plaintiff is equally negligent.” “If you find that the accident occurred through any negligent omission of plaintiff to have a track walker, a person in charge of the tracks, the verdict should be for defendant.” “Plaintiff was bound to keep its tracks in a safe condition.” “Plaintiff was bound to see that this car was in a safe condition over night.” “Plaintiff had the custody of this car over night.” “ If you find that this car was over night in the custody of the railroad company the defendant is not liable. ”
   
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  And the following portion of the judge’s charge which is complained of by the defendant, and which the general term held to-embody error, we think contains an accurate statement of the law applicable to this case: “ I have already stated to you that the-negligence upon the part of the railroad company in not having a. watchman upon the track, if you please, or in running its engine at a high rate of speed, or anything of that kind, has nothing to-do with the question of absolving these defendants from their liability. The plaintiffs were not bound to assume that these defendants were going to put their lumber upon the track, and therefore have a watchman for the purpose of seeing they kept it off. The law does not require a railroad company, or anybody else, to provide a guard to keep trespassers off 'their property, or to keep-persons from putting obstructions upon their tracks. If' persons do put obstructions upon the tracks of a railroad company they are responsible for it under all circumstances. But if' the engineer saw this obstruction in time to have stopped that train, then he was bound to use all reasonable efforts for the purpose of so stopping it. If, however, he did not see it, and ran into it, no matter whether he ought to have seen it or ought not to have-seen it, is immaterial so far as these defendants are concerned; his-negligence in not seeing it would not absolve them from the liability which otherwise would have existed. If he willfully ran into the danger of course there would be no right of action upon the part of the plaintiffs here.”
 

  In this portion of the charge the judge evidently did not intend to say that the defendant was guilty of a trespass or of willfully placing this lumber upon the track. Assuming that the lumber canoe upon the plaintiff’s track through the negligence of the defendant, the rules of law stated by the trial judge are precisely applicable.
 

  We are, therefore, of opinion that the order of the general term should be reversed and the judgment entered upon the verdict affirmed, with costs. ’
 

  All concur.
 
